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                                    UNITED STATES DISTRICT COURT
                                      DISTR¡ET OF EONNEGT¡EUT
                                             -
TRUSTEES OF THE                 nä-^i' 478 ANNUITY
                       iT ä F iLOCAL
               ir-p'iI.U.O.E.              ¡ï'r,iräiV-]
FUND, TRUSTEES OF THE OPERATING        ^7;
ENGINEERS LOCAL 478 TRAINING AND SK¡LL
IMPROVEMENT FUND, TRUSTEES OF THE I.U.O.E.                                                      Civil Action No.
LOCAL NO. 478 HEALTH BENEFITS FUND,
TRUSTEES OF THE I.U.O.E. LOCAL 478 PENSION
FUND, TRUSTEES OF THE I.U.O.E, LOCAL 478
SUPPLEMENTAL UNEMPLOYMENT BENEFITS
FUND AND I.U.O.E. LOCAL UNION NO. 478

                 Plaintiffs,

vs.

NAT¡ONAL SHORING, LLC                                                                           August 3,2018


                Defendant.


                                                            COMPLAINT

PARTIES

        1.      Plaintiffs Trustees of the l.U.O.E. Local 478 Annuity Fund, Operating

Engineers Local 478 Training and Skill lmprovement Fund, I.U.O.E. Local No. 478

Health Benefits Fund, LU.O.E. Local 478 Pension Fund, and the |.U.O.E. Local 478

Supplemental Unemployment Benefits Fund (hereinafter referred to as the "Funds") are

Trustees of     a multi-employer employee benefit plan as those terms are defined                                                             in

Sections 3(3) and 3(37) of the Employee Retirement lncome Security Act                                                          of   1974,

(hereinafter referred to as "ERlSA," 29 U.S.C. Sections 1002(3) and (37)). The Funds




                                       ROBÊRT M. CHEVERIE & ASSOCIATES, P.C,
 CoMMERCECENTERONE   '   333EASTRIVERDRÍVE   .   SUITEIOl   .   EASTHABTFORD,CT 0610S. (S60)290-9610. FAX(S60)290-9611   .   JUR|SNO.4O5719
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are established and maintained by Restated Agreements and Declarations of Trust and

by a Collective Bargaining Agreement between the l.U.O.E. Local Union No. 478 and

Defendant National Shoring, LLC (hereinafter referred to as "National Shoring"). The

Funds are administered at 1965 Dixwell Avenue, Hamden, Connecticut 06514.

       2.       Plaintiff |.U.O.E. Local Union No. 478 (hereinafter referred to as the

"Union") is a labor organization within the meaning of Section 2(5) of the National Labor

Relations Act, 29 U.S.C. Section 152(5).

       3.       The Defendant, National Shoring, is doing business under the laws of the

State of Connecticut, with          a business address of 1110-1112 Hartford                                           Turnpike,

Waterford, Connecticut 06385. National Shoring transacts business in the State of

Connecticut as     a contractor or subcontractor in the construction industry and at                                                  all

times herein was an "employer in an industry affecting commerce" as defined                                                           in

Sections 501(l), (3) and 2(2) of the Labor-Management Relations Act ("LMRA'),29

U.SC.Sections 142(l), (3) and 152(2); Sections3(5),(9),(11),(12)and(Qof ERISA,

29 U.S.C. Sections 1002(5), (9), (11), (12) and (14); and Section 3 of the                                                   Multi-

Employer Pension Plan Amendments Act of 1980, 29 U.S.C. Section 1001(a).

JURISDICTION AND VENUE

       4.       This Court has jurisdiction of this action under Section 301 of the LMRA,

29 U.S.C, Section 185(a) and under Sections 502 and 515 of ERISA,29                                                         U.S.C.

Sections 1132 and 1145. This is an action for breach of                                  a Collective Bargaining
Agreement between an employer and a labor organization representing employees in




                                 FOBERT M, CHEVERIE & ASSOCIATES, P.C.
 ooMMERCECENTERONE.3æEASTRIVERDRIVE. SUlrË101   .   ÊASTHARTFORD,CT   06103. (S60)290-96f0.   FAX(860)290-9611   .   JUR|SNO.405719
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an industry affecting commerce, and an action to collect delinquent employer
contributions due to employee benefit plans under the terms of a Collective Bargaining

Agreement and ERISA.

Count | (Breach of Collective Barqaininq Agreement)

        5.      The Plaintiffs hereby incorporate by reference Paragraphs 1-4 of the
Complaint as fully set herein.

        6.       Defendant National Shoring entered into                            a    Collective Bargaining

Agreement with the Union establishing the terms and conditions of National Shoring's

employees in work covered by the Collective Bargaining Agreement.

        7.      Pursuant      to the Collective Bargaining Agreement, Defendant National
Shoring is required to pay to the Funds and the Union certain sums of money for each

hour worked by employees of the Defendant National Shoring in employment covered

by the Collective Bargaining Agreement.

        B.      Said Agreement also binds National Shoring to the Funds' Collection

Policy, which provides for interest, liquidated damages, reasonable attorney's fees, and

sheriff and court costs to be imposed with any contributions that are not timely paid.

        9.      On or around April 2018, the Funds, the Union and National Shoring

executed a settlement agreement whereby National Shoring agreed to pay the Funds

and the Union a total of $87,928.79 including the balance of an audit, audit costs,

contributions    for the months of November through December 2017 and                                              partial

contributions for February 2018, and interest and attorney's fees.




                                   ROBERT M. CHEVERIE & ASSOCIATES, P.C.
 ooMMERCECENTERONE. S33EASTRIVEFDFIVE.SU|TE101 . EASTHARTFORD,CT 06108. (860)290-9610. FAX(860)290-96.11.   JUR|SNO.4O5719
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          10.    The settlement agreement required National Shoring to submit one (1)

payment of $30,000.00 followed by six (6) monthly payments of $9,654.79.

          11.    National Shoring submitted the first monthly payment in the amount of

$30,000.00, leaving a balance of $57,928.79 remaining.

          12.    National Shoríng has defaulted on the agreement by failing to submit

three (3) subsequent monthly payments in the combined amount of $28,654.37. Since

National Shoring is in breach of this agreement the entire balance of $57,928.79 is now

due and owing.

          13.    ln addition to requiring the monthly payments, the agreement contained

terms and conditions requiring timely benefit contributions for all work covered by the

Collective Bargaining Agreement that would become due during the period of the

payment plan.

          14.    Defendant National Shoring employed certain employees covered under

the Collective Bargaining Agreement throughout the relevant period, the months of

January through June 2018.

          15.    Defendant National Shoring failed to make all contributions due to the

Funds and Union for work covered under the Collective Bargaining Agreement for the

months of January through June 2018. Based on the reports provided by National

Shoring, the company owes a balance of $7,046.63 for work performed during this

period.




                                            ROBERT M. CHEVERIE & ASSOCIÄÍES, P.C.
 ooMMERCE CENTER ONE   .   333 EAST RIVER DRIVE   .   SUITE   1   0r .   EAST HARTFORD, CT 061   08   .   (860) 290-961 O   .   FAX (860) 290-961   1   .   JURIS NO. 40571   I
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        16.      National Shoring's failure to pay the amounts owed to the Funds and the

Union as described in Paragraphs 12-15 is                      a breach of the Collective Bargaining
Agreement.

        17.      The amount owed is expected to increase by the time judgment is entered

as the actual amount owed for work performed from January through June 2018 may

prove to be more than National Shoring self-reported and, upon information and belief,

National Shoring continues to employ operating engineers.

        18.      Pursuant to the Collective Bargaining Agreement, National Shoring                                               is

liable to the Plaintiffs for all unpaid delinquent Funds contributions, Union dues, interest

on the unpaid contributions and dues, an amount equal to the greater of (a) interest on

the unpaid contributions, or (b) liquidated damages provided for in the Plan, reasonable

attorney's fees, codts of this action, and such other legal and equitable relief as the

Court deems appropriate.

GOIJNT 2 (Delinquent         G          butions under ERISAI

        19,     The Plaintiffs hereby incorporate by reference Paragraphs 1-18 of the

Complaint as fully set herein.

        20.      National Shoring's failure to pay the. amounts owed to the Funds and the

Union is a violation of ERISA 29 U.S. Code S 1145 requiring contributions to be made

to multiemployer plans under the terms of a Collective Bargaining Agreement,

        21.      Pursuant     to 29      U.S.C. 1132(g) (2) and the Collective Bargaining

Agreement, National Shoring is liable to the Plaintiffs for all unpaid delinquent Funds




                                   ROBERT M. CHËVERIE & ASSOC¡ATES, P,C.
 ooMMERCECENTERONE.3SSEASTRIVERDRIVE. SU|TEl0l . EASTHARTFORD,CT 06108. (860)290-9610.   FAX(860)290-9611   .   JUR|SNO.4O5719
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contributions, Union Dues, interest on the unpaid contributions and dues, an amount

equal to the greater of (a) interest on the unpaid contributions, or (b) liquidated

damages provided for in the Plan, reasonable attorney's fees, costs of this action, and

such other legal and equitable relief as the Court deems appropriate.

WHËREFORE, Plaintiff Funds pray for judgment as follows:

        A.       Ordering Defendant National Shoring to make payment on the balance of
                 the settlement agreement in the amounlof $57,928.79.

        B.       Ordering Defendant National Shoring to make payment to the respective
                 Plaintiffs in the amount of $7,046,63 for unpaid benefit contributions,
                 liquidated damages provided by the Plan, interest in the amount of twelve
                 percent (12%) per annum pursuant to the Trust Agreements, on the
                 amount due from the date of the delinquency until the date of payments,
                 costs and reasonable attorney's fees, pursuant to 29 U.S.C. Section
                 1132(g) (2) and 28 U.S.C. Section 1961.

        C.       Ordering National Shoring to submit monthly reports and any unpaid
                 contributions that become due during the pendency of the Complaint until
                 the issuance of a judgment.

        D.       Ordering Defendani Nationai Shoring to submit paymenis íor
                 contributions discovered as due, through their monthly reporting or
                 otherwise, during the pendency of the Complaint until the issuance of a
                 Judgment.

        E.       Ordering Defendant National Shoring, in connection with any amounts
                 disclosed as due in excess of the amount stated on the Complaint, to pay
                 liquidated damages provided by the Plan and interest in the amount of
                 twelve percent (12%) per annum pursuant to the Trust Agreements and to
                 29 U.S.C. Section 1132(9),

        F.       For such further relief as the Court may deem appropriate.




                                   ROBERT M. CHEVERIE & ASSOCIATES, P.C.
 CoMMERCECENTËRONE.'S3SEASTRIVERDRIVE.   SU|TEl01   .   EASTHARTFORD,CT 0610S. (860)290-96f0. FAX(660)290-9611   .   JUR|SNO.4O5719
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       DATED at East Hartford, Connecticut, this 3'd day of August 2018.

                                                             Respectfu lly subm itted,


                                                            /s/ Greqory S. Campora
                                                            Gregory S. Campora, Esq.
                                                            ROBERT M. CHEVERIE &
                                                            ASSOCIATES, P.C.
                                                            Commerce Center One
                                                            333 East River Drive, Suite 101
                                                            East Hartford, CT 06108-4206
                                                            Tele. No.: (860) 290-9610
                                                            Fed. Bar # ct23775
                                                            ATTORNEY FOR PLAINTIFFS




                                  ROBERT M. CHEVERTE & ASSOCTATES, p.C.
                                             . EASTHARTFORD,CT 0ô108. (860)290-9610.
GoMMERCECENTERONE. SSSEASTRIVERDRIVE. SUITEl0l                                         FAX(860)290-9611   .   JUR|SNO.4O5719
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                                        CERTIFICATE OF SERVICE


      This is to certify that a copy of the foregoing Complaint has been served by

certified mail, as required by Section 502(h) of the Employee Retirement lncome

Security Act    of 1974,29 U.S.C. Section 1132(h), this                   3'd day of August 2018, on the

following:


Secretary of the Treasury
INTERNAL REVENUE SERVICE
P.O. Box 13163
Baltimore, MD 21203
Attn: Employee Plans

Secretary of Labor
200 Constitution Avenue, N.W.
Washington, D.C. 20210
Attn: Assistant Solicitor for            Plan
        Benefits Security




                                                              /s/ Greoorv S. Camoora
                                                              Gregory S. Campora, Esq.




                                   ROBERT M. CHEVERIE & ASSOCIATES, P.C.
 coMMERCECENTERONE.33SEASTRIVERDRIVE. SU|TEl0l . EASIHARTFORD,CT 06108. (860)290-9610.   FAX(850)290-9611   .   JUR|SNO.4O57.l9
